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                                   EXHIBIT 1
                                 Margaret
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                                February 24, 2017                                 1




      · · · · · · · UNITED STATES DISTRICT COURT

      · · · · · · · · DISTRICT OF RHODE ISLAND

      JOHN DOE,· · · · · · · · · · ·)
      · · · · · · · · · · · · · · · )
      · · · · Plaintiff,· · · · · · )
      · · · · · · · · · · · · · · · )
      · ·vs.· · · · · · · · · · · · ) Case No. 1:15-cv-00144-
      · · · · · · · · · · · · · · · )· · · · · S-LDA
      BROWN UNIVERSITY· · · · · · · )
      in Providence in the State of )
      Rhode Island and Providence· ·)
      Plantations.· · · · · · · · · )
      · · · · · · · · · · · · · · · )
      · · · · Defendant.· · · · · · )
      ______________________________)




      CONFIDENTIAL DEPOSITION TRANSCRIPT OF MARGARET KLAWUNN

      · · · · · · · · · ·GOLETA, CALIFORNIA

      · · · · · · · ·FRIDAY, FEBRUARY 24, 2017

      · · · · · · · · ·8:56 A.M. - 6:42 P.M.




      · · · · ·REPORTED BY MELISSA PLOOY, CSR #13068




                                  U.S. LEGAL SUPPORT
                                    (877) 479-2484
                                 Margaret
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                                February 24, 2017                               100

 ·1· · · ·Q.· ·So you don't know what happens once this

 ·2· ·complaint is submitted in writing?

 ·3· · · ·A.· ·Well, I do know what happens in terms of the

 ·4· ·process.· I assume she enters it into Maxient, but I

 ·5· ·don't do that part of the process.

 ·6· · · ·Q.· ·Okay.· So you're assuming that's what she does,

 ·7· ·but you don't know?

 ·8· · · ·A.· ·I think it would be correct to say she makes

 ·9· ·sure that it's in the record in the office of student

 10· ·life within the judicial system.

 11· · · ·Q.· ·When do you find out about it?

 12· · · ·A.· ·I found out about it when I'm notified.

 13· · · ·Q.· ·Of course.

 14· · · ·A.· ·Uh-huh.

 15· · · ·Q.· ·But when do you find out about it?· Within an

 16· ·hour?· Within two hours?· By email?· By carrier pigeon?

 17· ·When do you find out about it and how do you find out

 18· ·about it?

 19· · · ·A.· ·One thing we should say about 2014-2015 is that

 20· ·Allen Ward was in the process of leaving the university

 21· ·and so he was not in the senior associate dean role, and

 22· ·for that time, I was filling the senior associate dean

 23· ·role as his supervisor.

 24· · · ·Q.· ·Before we go back to how and when you find out

 25· ·about it, so Allen Ward is leaving.· How many roles are


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